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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 0:11-cv-62311-WJZ

     JOSE ROQUE, individually,

            Plaintiff,

     v.

     LEADING EDGE RECOVERY SOLUTIONS, LLC,
     a foreign limited liability company,

           Defendant.
     ___________________________________________/

           JOINT NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

            The undersigned attorneys for Plaintiff and Defendant hereby give notice to this

     Honorable Court that the above-styled action is dismissed with prejudice. This Court

     shall reserve jurisdiction to enforce the terms of any settlement agreement. Each side

     shall bear their own fees and costs, except as otherwise agreed to by the parties. A

     proposed order is attached hereto as Exhibit A.

     Dated: April 30, 2012

                                                 Respectfully submitted,

                                                 s/ Scott D. Owens
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                                                 /s/ David Hartnett
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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on this 30 April 2012, I electronically filed the
     foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
     foregoing document is being served this day via U.S. Mail and/or some other authorized
     manner for those counsel or parties who are not authorized to receive electronically
     Notices of Electronic Filing.




     Dated: April 30, 2012

                                                By: /s/ Scott D. Owens
                                                SCOTT D. OWENS, ESQ.
